Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 1 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 2 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 3 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 4 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 5 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 6 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 7 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 8 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 9 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 10 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 11 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 12 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 13 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 14 of 15
Case 2:21-bk-19219-ER   Doc 1 Filed 12/14/21 Entered 12/14/21 14:19:49   Desc
                        Main Document    Page 15 of 15
